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UNITED STATES DlSTR|CT COURT

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vEEoA oEleE coNNER

Linda Kendal| Garner CJA
Defense Attorney

217 Exchange

Memphis, TN 38105

 

 

JUDGMENT lN A CR|M|NAL CASE
(For Offonses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on Apri| 13, 2005. According|y,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Tltle & Section M.LM§§ Offense Numberlsi
Conc|uded
18 U.S.C. § 371 Conspiracy to Make or Atter, Possess, 08/01/2003 ‘l

Utter and Pass Counterfeit Securities

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the N|andatory
Victims Restitution Act of 1996

Count(s) 2 and 3 are dismissed on the motion of the United States.

|T |S FURTHER CRDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all tines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. 413-21-928‘| Date of imposition of Sentence:
Defendant’s Date of Birth: 03/20/1974 July 07, 2005
Deft’s U.S. Marsha| No.: 20040-076

Defendant’s Mailing Address:
4789 Roya| Ridge Drive
Memphis, TN 38128

    
  

 

BERNICE B. DONALD
uNlTEo sTATEs olsTRlc'r JUDGE

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PROBAT|ON

The defendant is hereby placed on probation for a term of 2 Years.

Whi|e on probation, the defendant shall not commit another federa|, state, or local
crime and shall not illegally possess a firearm, ammunition, destructive device, or
dangerous weapons. The defendant shall also comply with the standard conditions that
have been adopted by this court (set forth below). lf this judgment imposes a fine or a
restitution obligation, it shall be a condition of probation that the defendant pay any such file
or restitution.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed bythe probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendantsha|l not leave thejudiciai district withoutthe permission of the court or probation ofncer;

2. The defendant shall report to the probation officer as directed by the court or probation ocher and shall
submit a truthqu and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation ofticer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance. or any paraphema|ia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation ocher to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d, used,
distributed, or administered;

B. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation ocher;

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10. The defendant shall notify the probation ofncer within 72 hours of being arrested or questioned by a
law enforcement ofncer;

1‘|. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation ocher, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristics, and shall permit
the probation ofhcer to make such notifications and to confirm the defendant’s compliance with such
notification requirement.

13. lf thisjudgment imposes a fine or a restitution obiigation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Crimina| Monetary Pena|ties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF PROBAT|ON

The defendant shall also comply with the following additional conditions of probation:

1. The defendant shall participate in substance abuse testing and treatment programs
as directed by the Probation Officer;

2. The defendant shall obtain and maintain full time employment;

3. The defendant shall cooperate in the collection of DNA as directed by the Probation
Officer.

CR|M|NAL MONETARY PENALT|ES

The defendant shall pay thefo||owirig total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedu|e of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Ai| of the payment options in the Schedu|e of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(9).

Total Assessment Total Fine Total Restitution
$100.00 $1,135.50

The Special Assessment shall be due immediately.

F|NE
No fine imposed.

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REST|TUT|ON

Restitution in the amount of $1,135.50 is hereby ordered. The defendant shall make
restitution to the following victims in the amounts listed below.

Priority
Tota| Amount of Order
Name of Paxee Amount Restitution Ordered or
of Loss Percentage
of Payment

Tony"s Market, $507.50 $507.50
Attn: Tanios Kareh, Owner

Lucchesi Liquors, $628.00 $628.00
Attn: Frank M. Burt, Manager

lf the defendant makes a partial paymentl each payee shall receive an approximately
proportional payment unless specified othenivise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement cf Reasons page.

SCHEDULE OF PAYMENTS

Having assessed the defendants ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Special instructions regarding the payment of criminal monetary penalties:

Defendant shall pay restitution in regular monthly installments of not less than 10%
of gross monthly income. interest requirement is waived. Defendant is to notify the
Court and the United States Attomey of any material change in economic
circumstances that may affect defendants ability to pay restitution.

Unless the court has expressly ordered othenNise in the special instructions above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment A|l criminal monetary penaltiesl except those payments made through the
Federal Bureau of Prisons' inmate Financia| Responsibility Prograrn, are made to the clerk of the
court, unless othen)vise directed by the court, the probation officer, or the United States attorney.

The defendant shall receive credit for ali payments previously made toward any criminal monetary
penalties imposed.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 86 in
case 2:04-CR-20464 Was distributed by faX, mail, or direct printing on
July 21, 2005 to the parties listed.

ENNESSEE

 

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Honcrable Bernice Donald
US DISTRICT COURT

